
378 U.S. 589 (1964)
ETCHIESON
v.
TEXAS.
No. 1050, Misc.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE COURT OF CRIMINAL APPEALS OF TEXAS.
Clyde W. Woody for petitioner.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case remanded to the Court of Criminal Appeals of Texas for consideration in light of Aguilar v. Texas, ante, p. 108.
MR. JUSTICE BLACK, MR. JUSTICE CLARK and MR. JUSTICE STEWART dissent for the reasons assigned in the dissenting opinion in Aguilar v. Texas.
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